Case o-Uo-/0o09-aSt DOC Filed ti/ty/0o Entered LlilyiQo 1fi04i2o

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

PAYMENT ADVICES COVER SHEET

in Accordance With 11 U.S.C. Sec. 521(a)(1)(B){iv)

In Re: Case No.:
Robert J. Delorenzo Chapter: 13
Rosemary t. Delorenzo

Debtor(s)

Please Check the Appropriate Box.
For Debtor:
(Wf =Payment Advices are Attached.

e Number of Payment Advices Attached: 9

e Period Covered: 8/23/08 - 10/24/08 (if period covered is less than 60 days or 8 weeks, attach an
explanation)

e Number of Employers From Whom Debtor Received Payment Advices During the 60 Days Prior to Filing

the Bankruptcy Petition: 1

For Joint Debtor, if applicable:
W Payment Advices are Attached.

° Number of Payment Advices Attached:

e Period Covered: Statement of first three quarters 2008 (If period covered is less than 60 days or 8 weeks,
attach an explanation)

e Number of Employers From Whom Debtor Received Payment Advices During the 60 Days Prior to Filing

the Bankruptcy Petition: 4

For Debtor:

C) No Payment Advices are Attached (the debtor had no income from any employer during the 60 Days Prior
to Filing the Bankruptcy Petition).

O No Payment Advices are Attached for Some Other Reason (Attach an explanation)

For Joint Debtor, if applicable:

oO No Payment Advices are Attached (the debtor had no income from any employer during the 60 Days Prior
to Filing the Bankruptcy Petition).

iv No Payment Advices are Attached for Some Other Reason (Attach an explanation)

| declare under penaity of perjury that | have read this Payment Advices Cover Sheet and the attached payment
advices, consisting of 1 sheets, numbered 1 through 1, and that they are true and correct to the best of my
knowledge, information and belief.

Signature of Debtor: s/Robert J. Delorenzo Date: 11/19/08
Robert J. Delorenzo

s/Rosemary T. Delorenzo Date: 11/19/08
Rosemary t. Delorenzo

Signature of Joint Debtor:

Payment Advices Cover Sheet 4/11/06 Deputy Clerk's Initials:
Case o-Uo-/0o09-aSt DOC Filed ti/ty/0o Entered LlilyiQo 1fi04i2o

For Joint Debtor:

Explanation of No Payment Advices Attached: Do not get regular pay checks. Statement of Commissions
issued quarterly
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Case o-Uo- /0009-asI

LONG ISLAND SWIMMING POOL SERV
1630-0 OCEAN AVE

Earnings Statement

Docs Fuled Lifly/Qo Entered 11/Ly/Oo Lfi04ico

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SUITE 2 Pay Period: 10/18/2008 to 10/24/2008
BOHEMIA, NY 11716 Pay Date: 10/31/2008
Employee Number: 0200
Department Number: 10 ROBERT DELORENZO
Social Security Number: XXX-XX-XXXX 21 TOWNLINE CT
Marital Status: MARRIED HAUPPAUGE, NY 11788
Number Of Allowances: 02
Rate:
Hours and Earnings Taxes and Deductions
Description Hours This Period Year-To-Date Description This Period Year-To-Date
SALARY soa.00 35200.00//;FICA 61.20 2692.80
FED WT 61.78 2718.32
NY ST 34.68 1525.92

Gross Pay Year To Date

Gross Pay This Period

Total Deductions This Period

Net Pay This Period

$35,200.00

$800.00

$157.66

$642.34

Pay To The
Order Of

ROBERT DELORENZO
21 TOWNLINE CT
HAUPPAUGE, NY 11788

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LONG ISLAND SWIMMING POOL SERV
1630-0 OCEAN AVE

SUITE 2

BOHEMIA, NY 11716

Employee Number:

Department Number:
Social Security Number:

Marital Status:

Number Of Allowances:

a200

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MARRIED

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Earnings Statement

Pay Period: 10/11/2008 to
Pay Date: 10/24/2008
ROBERT DELORENZO

21 TOWNLINE CT
HAUPPAUGE, NY 11788

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10/17/2008

Rate:
Hours and Earnings Taxes and Deductions
Description Hours This Period Year-To-Date Description This Period Year-To-Date
SALARY 800.00 344600.00/))FICA 61.20 2631.60
FED WT 61.78 2656.54
NY ST 34.68 1491.24

Gross Pay Year To Date

Gross Pay This Period

Total Deductions This Period

Net Pay This Period

$34,400.00

$800.80

$157.66

$642.34

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Pay Ta The
Order Of

ROBERT DELORENZO

21 TOWNLINE CT

HAUPPAUGE, NY 11788

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LONG ISLAND SWIMMING POOL SERV PASYPAY
1630-0 OCEAN AVE HE
SUITE 2 Pay Period: 10/04/2008 to 10/10/2008
BOHEMIA, NY 11716 Pay Date: 10/17/2008
Employee Number: 0200
Department Number: 10 ROBERT DELORENZO
Social Security Number: XXX-XX-XXXX 21 TOWNLINE CT
Marital Status: MARRIED HAUPPAUGE, NY 11788
Number Of Allowances: b2
Rate:
Hours and Earnings Taxes and Deductions
Description Hours This Period | Year-To-Date Description This Period Year-To-Date
SALARY 800.00 33600.00)/|FICA 61.20 2570.40
FED WT 61.78 2594.76
NY ST 34.68 1456.56
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21 TOWNLINE CT
HAUPPAUGE, NY 11788

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LONG ISLAND SWIMMING POOL SERV FASYPAY
1630-0 OCEAN AVE MAVILM
SUITE 2 Pay Period: 9/27/2008 to 10/03/2008
BOHEMIA, NY 11716 Pay Date: 10/10/2008
Employee Number: 0200
Department Number: 10 ROBERT DELORENZO
Social Security Number: = XXX-XX-XXXX 21 TOWNLINE CT
Marital Status: MARRIED HAUPPAUGE, NY 11788
Number Of Allowances: 02
Rate:
Hours and Earnings Taxes and Deductions
Description Hours This Period Year-To-Date Description This Period Year-To-Date
SALARY 800.00 32800.00)/|FICA 61.20 2509.20
FED WT 61.78 2532.98
NY ST 34.68 1421.88
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21 TOWNLINE CT
HAUPPAUGE, NY 11788

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LONG ISLAND SWIMMING POOL SERV
1630-0 OCEAN AVE

SUITE 2

BOHEMIA, NY 11716

Employee Number:
Department Number:
Social Security Number:

Marital Status:

Number Of Allowances:

0200

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MARRIED

02

Docs Fuled Lifly/Qo Entered 11/Ly/Oo Lfi04ico

Earnings Statement

Pay Period: 9/20/2008 to 9/26/2008
Pay Date: 10/03/2008
ROBERT DELORENZO

21 TOWNLINE CT
HAUPPAUGE, NY 11788

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Rate:
Hours and Earnings Taxes and Deductions
Description Hours This Period Year-To-Date Description This Period Year-To-Date
SALARY 860.00 32000.00)])/FICA 61.20 2448.00
FED WT 61.78 2471.20
NY ST 34.68 1387.20

Gross Pay Year To Date

Gross Pay This Period

Total Deductions This Period

Not Pay This Period

$32,000.00 $800.60

$157.66

$642.34

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SUITE2

BOHEMIA NY 11716"

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21 TOWNLINE CT
HAUPPAUGE, NY 11788

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BERT DELORENZO

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LONG ISLAND SWIMMING POOL SERV
1630-0 OCEAN AVE

Earnings Statement

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SUITE 2 Pay Pericd: 9/13/2008 to 9/19/2008
BOHEMIA, NY 11716 Pay Date: 9/26/2008
Employee Number: 0200
Department Number: lo ROBERT DELORENZO
Social Security Number: XXX-XX-XXXX 21 TOWNLINE CT
Marital Status: MARRIED HAUPPAUGE, NY 11788
Number Of Allowances: 02
Rate:
Hours and Earnings Taxes and Deductions _
Description Hours This Period | Year-To-Date Description This Period Year-To-Date
SALARY 800.00 31200.00]/|/FICA 61.20 2386.80
FED WT 61.78 2409.42
NY ST 34.68 1352.52

Gross Pay Year To Date

Gross Pay This Period

Total Deductions This Poriod

Net Pay This Period

$31,200.00 $800.00

$157.66

$642.34

PLEASE VERIFY NAME, ADDRESS & SOCIAL SECURITY # FOR ACCURACY

Pay To The
Order Of

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21 TOWNLINE CT
HAUPPAUGE, NY 11788

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BERT DELORENZO

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LONG ISLAND SWIMMING POOL SERV FASYPAY
1630-0 OCEAN AVE AA
SUITE 2 Pay Period: 9/06/2008 ta 9/12/2008
BOHEMIA, NY 11716 Pay Date: 9/19/2008

Employee Number: 0200

Department Number: 16 ROBERT DELORENZO

Social Security Number: XXX-XX-XXXX 21 TOWNLINE CT

Marital Status: MARRIED HAUPPAUGE, NY 11788

Number Of Allowances: 02
Rate:

Hours and Earnings Taxes and Deductions
Description Hours This Period Year-To-Date Description This Period Year-To-Date
SALARY 800.00 30400.00|||FICA 61.20 2325.60
FED WT 61.78 2347.64
NY ST 34.68 1317.84
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Gross Pay Year To Date Gross Pay This Period Total Deductions This Period Net Pay This Period
$30,400.00 $800.00 $157.66 $642.34

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Order Of ROBERT DELORENZO

21 TOWNLINE CT
HAUPPAUGE, NY 11788

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LONG ISLAND SWIMMING POOL SERV BASY PAY
1630-0 OCEAN AVE MAU AL
SUITE 2 Pay Period: 8/80/2008 to 9/05/2008
BOHEMIA, NY 11716 Pay Date: 9/12/2008
Employee Number: 0200
Department Number: lo ROBERT DELORENZO
Social Security Number: XXX -XX-XXXX 21 TOWNLINE CT
Marital Status: MARRIED HAUPPAUGE, NY 11788
Number Of Allowances: 02
Rate:
Hours and Earnings Taxes and ‘Deductions |
Description Hours _ This Period Year-To-Date Description This Period Year-To-Date
SALARY 800.00 29600.00)|/FICA 61.20 2264.40
FED WT 61.78 2285.86
NY ST 34.68 1283.16
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Gross Pay Year To Date Gross Pay This Period Total Deductions This Poriod Not Pay This Period
$29,600.00 $800.00 $157.66 $642.34

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21 TOWNLINE CT
HAUPPAUGE, NY 11788

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LONG ISLAND SWIMMING POOL SERV
1630-0 OCEAN AVE

Earnings Statement

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SUITE 2 Pay Period: 8/23/2008 to 8/29/2008
BOHEMIA, NY 11716 Pay Date: 9/05/2008
Employee Number: 0200
Department Number: lo ROBERT DELORENZO
Social Security Number: XXX-XX-XXXX 21 TOWNLINE CT
Marital Status: MARRIED HAUPPAUGE, NY 11788
Number Of Allowances: 02
Rate:
Hours and Earnings Taxes and Deductions
Description Hours This Period Year-To-Date Description This Period Year-To-Date
SALARY 800.00 28800.00j|/FICA 61.20 2203.20
FED WT 61.78 2229.08
NY ST 34.68 1248.48

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Gross Pay Year To Date

$28,800.00

Gross Pay This Period

$800.00

Total Deductions This Period

$157.66

Net Pay This Period
$642.34

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21 TOWNLINE CT
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Agent Accesss 24 hours a day. eae

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| SUMMARY |

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_#ASSOCiate;: ROSEMARY DELORENZO Office: Smithtown (93104701)
OfficeStart Date: 1/9/2004 Branch Address: 28 E Main St

Smithtown, NY 11787
Last Updated: 9/25/2008
ee Be

1099 Earnings by Quarter

1st Qtr 2nd Qtr 3rd Qtr 4th Qtr
2€ Current Year (2008)

$0 $25,333 $15,150 $0
Prior Year (2007)

, $6,843 $18,137 $12,377
